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IN THE UNI'I'ED STATES DISTRICT COUR'I` `
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 Ju~ 30 PH 3: 56
RWASM.GUD
ELZENIA PITCHFORD, G£RK'US.!:HSTRYTM
Piaim-,;Lff, wm &- ¢#\.i !,é:;f`-EPHS

VS. NO, 04-2743~£}13

WORLDWIDE MORTGAGE, Et al.,

Defendants.

PROPOSED ORDER GRANTING

MOTION FOR EXTENDING DATE FOR RESPONSE TO MOTION TO DISMISS

IT APPEARING that Plaintiff's motion for extending date for

response to motion to dismiss is well taken and should be granted.

IT IS, THEREFORE, ORDERED that Plaintiff shall have until July

18, 2005 to respond to the motion to dismiss.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CV-02743 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

